                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW MEXICO

In re:
LAS UVAS VALLEY DAIRIES,
a New Mexico General Partnership

      Debtor.                                                        No. 17-12356-t11

METROPOLITAN LIFE INSURANCE
COMPANY,

      Plaintiff,
v.                                                                   Adv. No. 18-01007-t

LAS UVAS VALLEY DAIRIES;
LITIGATION COMMITTEE OF
LAS UVAS VALLEY DAIRIES,

      Defendants,

and

LITIGATION COMMITTEE OF
LAS UVAS VALLEY DAIRIES

      Counter-Claimant

v.

METROPOLITAN LIFE INSURANCE
COMPANY,

      Counter-Defendant.


                LITIGATION COMMITTEE’S REPLY REGARDING ITS
                   MOTION FOR PARTIAL SUMMARY JUDGMENT

      Counter-claimant the Litigation Committee established under the Liquidating Plan

confirmed on June 14, 2018 (the “Committee”), by counsel, here replies to the Response (the

“MetLife Response”) [Doc 23] filed by MetLife to the Committee’s Motion for Partial Summary

Judgment (the “Committee Motion”) [Doc 21]. In essence, although failing completely to



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respond to several arguments made in the Committee Motion, the MetLife Response makes the

same arguments MetLife made in its original Motion for Summary Judgment [Doc 22] and to

which the Committee responded in its Response (the “Committee Response”) [Doc 24].

                                        INTRODUCTION

       It might be useful to step back and remember just what relief the Committee is seeking in

its Motion for Partial Summary Judgment. MetLife argues, for example, that it is not clearly

proven whether the permit numbers of the Pecan Farm water rights were listed in the MetLife list

of permits attached to the Mortgage. Whether there are water rights owned by Las Uvas Valley

Dairies not listed by permit number is an issue for proof if the Court concludes that the blanket

claim for water rights in the Mortgage is inadequate but the listing by permit number adequately

describes the water rights pledged. If the Court concludes either that a blanket description of the

real estate is sufficient—and MetLife totally wins—or that the Change of Ownership Form

(“COO Form”) must be recorded—and the Committee totally wins—the issue of any particular

water rights permit number is irrelevant. If the Court comes down in the middle, then whether

any particular water right should have the lien avoided will be an issue for the proof. The Court

need not address those specifics now.

       In addition, the dispute on the facts regarding whether MetLife got 14 letters from the

Office of the State Engineer (the “OSE”) telling it to record the COO Form (which the

Committee acknowledges is incorrect) or merely 9 letters telling it to do so does not seem to be

dispositive. The fact is MetLife was told repeatedly–it admits 9 times—to record the COO Forms

and did not do so.

       This Reply will endeavor to avoid duplication and sort through the arguments to find the

substantive issues.



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                                    UNDISPUTED FACTS

       MetLife objects to certain facts and not others. Those not controverted with citation to the

portions of the record relied on are deemed admitted. LR 7067-1(b). The Committee will

respond to those facts that MetLife has attempted to controvert.

       Fact No. 14. MetLife demies that it had a duty to attach to its Proof of Claim evidence of

recordation of its COO Forms, but that is a legal argument which is flatly wrong. Claim 37 filed

by MetLife represents in section 9 on page two, “Attached redacted copies of documents, if any,

that show evidence of perfection of a security interest (for example, a mortgage, lien, certificate

of title, financing statement, or other document that shows the lien has been filed or recorded.)”

Despite that representation, MetLife failed to attach any COO Forms, recorded or otherwise. The

Order entered February 12, 2018 [Doc 208] referenced in the Declaration of Paul M. Fish (“Decl.

Fish”) ordered MetLife to produce evidence that COO Forms had been filed with the county

clerk. MetLife produced no such evidence for the vast bulk of the COO Forms produced.

       Fact No. 16. MetLife asserts there is no evidence to support the fact that it did not record

the COO Forms but then admits that it did not do so and argues it had no obligation to do so. The

Fact is admitted.

       Fact No. 17. MetLife disputes that it filed the COO Forms with the OSE as opposed to

someone else filing them. The Committee admits that the fact should more properly have simply

stated the COO Forms were filed with the OSE without identifying who did the filing. The

Committee also admits that there were only 9 letters to MetLife telling it to record the COO

Forms with the county clerk rather than 14 of them. MetLife asserts, “MetLife cannot confirm all

letters were actually received when purportedly transmitted.” However, MetLife does not dispute

that all 9 were in its files and it produced the letters to the Committee when ordered by this



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Court. As explained in the Committee Motion, p. 4, if MetLife has some alternative explanation

of how the letters got in its files, it had the duty to present that evidence at this time. It has not

done so.

       Fact No. 18. MetLife admits the fact but then argues about its relevancy. The fact is

admitted.

       Fact No. 19. The objection to the Utton Declaration only identifies ¶ 16 as wrongful.

Even if that paragraph is stricken, which it should not be, this Fact relates to the information in a

COO Form and the concerns of purchasers as described in ¶ 8 of the Utton Declaration, which

are clearly within Mr. Utton’s expertise and are not instructing the Court on the law. If the Court

does not strike the Utton Declaration in its entirety, this fact is admitted as uncontroverted.

       Fact No. 21. The Committee agrees that the specific water rights sold with the Pecan

Farm are not described in the MetLife Mortgage but then argues the “inference” of the fact. That

is an issue that would be resolved when the Court rules on what needs to be recorded to perfect

an interest in water rights. MetLife also does not submit any evidence regarding any COO Forms

that the purchaser may have filed as part of the transaction.

       Fact No. 22. This Fact is a negative statement that the COO Form of MetLife for the

Pecan Farm water rights does not exist. MetLife had a duty to come forward to counter the

negative by providing the COO Form, if such exists. In any event, the Fact is relevant to show

the various possibilities that will be sorted out once the Court rules.

       Fact No. 23. The objection to the Utton Declaration only identifies ¶ 16 as wrongful.

Even if that paragraph is stricken, which it should not be, this Fact relates to the practice of a

purchaser or mortgagee regarding filing COO Forms as described in ¶ 11 of the Utton

Declaration. Those matters are clearly within Mr. Utton’s expertise and are not instructing the



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Court on the law. If the Court does not strike the Utton Declaration in its entirety, this fact is

admitted as uncontroverted.

       Fact No. 24. MetLife does not dispute the fact that it recorded three COO Forms with the

county clerk. It merely argues the effect of those acts.

       Fact No. 25. MetLife finally admits that it did not record all the COO Forms with the

county clerk. The rest is merely argument.

       Fact No. 26. This Fact asserts the general understanding of water law practitioners. It

does not instruct the Court what the law is. If the Court does not strike ¶ 16 of the Utton

Declaration, this fact is admitted as uncontroverted.

                   THE UNCONTROVERTED UTTON DECLARATION
                           SHOULD BE CONSIDERED

       The Declaration of John W. Utton (“Utton Declaration”) can be considered in connection

with the Committee Motion because it presents admissible evidence.                There are three

prerequisites for the admission of expert testimony: (1) the expert must be qualified, (2) the

specialized testimony must assist the trier of fact, and (3) the expert testimony must be limited to

scientific, technical, or otherwise specialized knowledge in which the witness is qualified. See

generally Fed.R.Evid. 702.

       a. Mr. Utton is qualified to express the opinions in the Declaration.

       John W. Utton (“Utton”) is qualified as an expert of water law and his expertise is widely

recognized by the New Mexico legal community. An individual is qualified to testify as an

expert if he or she has “scientific, technical, or other specialized knowledge.” Fed. R. Evid. 702.

Further, an “expert’s testimony must be grounded in an accepted body of learning or experience

in expert’s field.” Fed. R. Evid. 702 advisory committee’s note to 2000 Amendments. Utton is an

attorney with 23 years of specialized experience in water law. Utton Declaration at ¶¶ 5-6. He is

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certified by the New Mexico Board of Legal Specialization as a Specialist in Natural Resources-

Water Law and he has served as an adjunct faculty member at the University of New Mexico

School of Law where he taught in advanced water law and natural resources writing. Id. at ¶ 5.

       Utton’s specialized knowledge and experience is trusted by his numerous public and

private water clients across the state. Id. (“His public water clients include Santa Fe County,

Dona Ana County, New Mexico State University, the City of Raton, the Camino Real Regional

Utility Authority, Fort Sumner Irrigation District, Public Service Company of New Mexico, the

New Mexico Interstate Stream Commission, and the State of New Mexico”). Further, Utton’s

specialized knowledge of water law has provided him opportunities on a national stage, as he

currently represents NMSU as an amicus party in the pending Texas v. New Mexico compact

litigation before the U.S. Supreme Court. Id. The breadth of Utton’s specialized knowledge of

water law is further exemplified by his CV. See id. at ¶¶ 5-6.

       MetLife’s attempt to discredit Utton’s expertise on the basis that this dispute involves a

specific issue within the field of water law is without merit. MetLife contends that Utton is not

an expert specifically on securing an interest in the water rights being pledged by a mortgage and

thus he does not qualify as an expert in this case. See MetLife Response at 6. As a water law

expert, the breadth of Utton’s expertise encompasses specific issues and subcategories within the

field of water law including water rights issues. Utton Declaration at ¶ 5 (citing his law practice

areas as: Water Rights, Water Litigation, and State Engineer Permitting and Water Planning).

Rule 702 requires that an individual have specialized knowledge of the field for which his or her

testimony is offered. See Fed. R. Evid. 702. As Utton is a recognized expert in the field of water

law and practices in the area of water rights, he is qualified to testify with regard to water rights

industry standards.


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       MetLife objects to the qualifications of Mr. Utton as only extensive experience

representing purchasers and sellers of water rights as well as extensive speaking experience on

the subject. It objects that Mr. Utton is not an expert on “mortgage lending.” However, the issue

in this case is not “mortgage lending.” The issue is the perfection of a lien on water rights, not

the applicable interest rate or repayment terms a lender would demand or the other matters on

which an expert on “mortgage lending” would opine. It appears that MetLife is arguing that a

purchaser of water rights would have no interest or concern regarding liens on the water rights,

so Mr. Utton as the purchaser’s lawyer would not have any knowledge or experience of liens on

water rights. That is, unfortunately, the same argument MetLife makes on the merits. Quite the

contrary, any purchaser represented by Mr. Utton would be very upset if he learned that his

attorney did not determine that there was a $20 million mortgage on the water rights he was

purchasing. That is part and parcel of representation of the purchaser. Mr. Utton is well qualified

to express the opinions he does.

       b. The testimony will assist the trier of fact.

       In conformity with Rule 702, the Utton Declaration will assist the trier of fact. As noted

by the Federal Rules of Evidence Advisory Committee:

       There is no more certain test for determining when experts may be used than the
       common sense inquiry whether the untrained layman would be qualified to
       determine intelligently and to the best possible degree the particular issue without
       enlightenment from those having a specialized understanding of the subject
       involved in the dispute.

Specht v. Jensen, 853 F.2d 805, 807 (10th Cir. 1988) (quoting Fed. R. Evid. 702 advisory

committee’s note to 1972 Proposed Rules).

       Although the presentation of, e.g., testimony of an expert on bankruptcy law would not

be of value to this Court, water law is something with which this Court rarely deals. Water law is


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recognized as a highly specialized field, and expert testimony has been deemed helpful to the

trier of fact when resolving water rights issues. See Ellsworth v. Tuttle, 148 Fed.Appx. 653, 661-

62 (10th Cir. 2005) (upholding the district court’s determination that a water law lawyer’s

testimony was admissible because his "specialized training, experience, and knowledge in the

field of Utah water rights would help the jury understand the factual data contained in the

[certificates of appropriation]”). In Ellsworth, the District Court held that a water law lawyer and

the Assistant Regional Engineer were permitted to testify as expert witnesses, because

“testimony that only constitutes the witness’ personal experience relating to relevant subject

matter is not impermissible.” Ellsworth v. Tuttle, No. 2:01CV907K, 2003 WL 25658595, at *11

(D. Utah Mar. 21, 2003). The District Court further held that the experts “may properly

synthesize the information relevant to each water right [because] [a] summary by the experts

[would] be helpful to the trier of fact.” Id. The Tenth Circuit upheld the District Court’s

determination and noted that expert testimony as to the sufficiency and validity of water rights at

issue was properly admitted. Ellsworth, 148 Fed.Appx. at 662. As Utton is a water law lawyer

with specialized knowledge, his testimony will similarly assist the trier of fact and is therefore

admissible.

         There are several separate matters discussed by Mr. Utton. His qualifications are set out

in paragraphs 1 through 4. Paragraphs 5 through 12 discuss the practices of water law

professionals regarding the COO Forms and the reliance by professionals in the area on the

filings with the county clerks.1 The Utton Declaration briefly addresses in paragraphs 12 through

15 the surface water regulation raised earlier but has not been raised in this briefing so those

paragraphs are irrelevant. Only paragraphs 7 and 16 are cited by MetLife as “instructing” the


1
 The MetLife Response, p. 5, objects to the conclusions the Committee draws from paragraph 7 of the Utton
Declaration, not to the actual Utton Declaration itself.

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court on the law. If the Court decides paragraph 7 or 16 is inadmissible, the Court should still

receive and consider the balance of the Utton Declaration

       First, MetLife argues that “[t]he [Utton] declaration specifically states how ‘to comply

with the statute’ (§72-1-2.1 NMSA 1978) in New Mexico.” MetLife Response at 5 (internal

citation omitted). MetLife strategically omitted the entirety of this portion’s language in the

Utton Declaration. Paragraph 16 does not instruct the Court on the law. It states the general

understanding of water law practitioners:

       16.    In my opinion, it is generally understood among water law practitioners in
       New Mexico that COO Forms should be filed with the OSE and recorded with the
       county clerk in order to comply with the statute regarding securing an interest in
       the water rights being pledged by a mortgage.

       Utton is not prescribing what must be done in order to comply with the statute. Instead,

he is merely offering what is generally understood among water law practitioners in the industry.

The testimony in paragraph 16 falls within the scope of permissible expert testimony. Although

Utton’s testimony may embrace the ultimate issue to be decided by the trier of fact, his testimony

is nonetheless admissible as it “assists, rather than supplants, the jury’s judgment.” See id.

(“[E]ven testimony which embraces an ultimate issue to be decided by the trier of fact is allowed

under the Federal Rules of Evidence, so long as the expert’s testimony assists, rather than

supplants, the jury’s judgment.”); Fed. R. Evid. 704(a).

       Second, MetLife contends that the Committee Motion’s language, noting that the statute

“is generally understood to control the conveyance of water rights whether it is a transfer by deed

or conveyance by mortgage,” attempts to define law. MetLife Response at 5. Again, MetLife

misrepresents the information offered by the Utton Declaration. Utton does not state that this




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statute controls the conveyance of water rights. Rather, Utton explains that it is generally

understood in the industry that this statute is controlling.

       MetLife relies heavily on Specht to support its claim that the Utton Declaration is

inadmissible because it is being offered to define the law. See Response to Motion at 5.

However, MetLife mischaracterizes the scope of the Utton Declaration. In Specht, the expert

witness’s testimony was deemed inadmissible because it contained an array of legal conclusions

including that “warrantless searches are unlawful” and “that [the] defendants committed a

warrantless search on plaintiff’s property.” Specht, 853 F.2d at 808. However, the Tenth Circuit

Court of Appeals emphasized that it “do[es] not exclude all testimony regarding legal issues.” Id.

at 809. Instead it upheld that “a witness may refer to the law in expressing an opinion without

that reference rendering the testimony inadmissible.” Id.

       As examples, the Specht court provided additional cases which upheld expert testimony

as admissible despite references to the law. Id. (citing United States v. Buchanan, 787 F.2d 477,

483 (10th Cir. 1986) (holding an expert’s testimony regarding whether a certain weapon had to

be registered with the Bureau of Alcohol, Tobacco, and Firearms, was admissible); Huddleston v

Herman & MacLean 640 F.2d 534, 552 (5th Cir. 1981), modified on other grounds, 459 U.S.

357, 103 S.Ct. 863, 74 L.Ed.2d 548 (1983) (attorney expert in securities law allowed to testify

that a statement in a prospectus was standard language for the issuance of a new security,

because this information helped the jury weigh the evidence of the defendant’s scienter); United

States v. Garber, 607 F.2d 92 (5th Cir. 1979) (trial court erred in refusing to let experts on

income tax law testify regarding whether failure to report funds received for sale of blood plasma

constituted tax evasion)).




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        Additionally, in MCC Management of Naples, Inc. v. Int’l Bancshares Corp., 468 Fed.

Appx. 816, 821-22 (10th Cir. 2012), the Tenth Circuit allowed a tax attorney to testify as an

expert about various interpretations of an underlying agreement in dispute because he was

merely discussing “common methodology” that tax lawyers use in the industry. The court

reasoned that the expert’s testimony was admissible because the expert referred to the law but

did not tell the jury how to apply it. Id. Further, the court found that the witness’s testimony was

helpful to the lay juror because “intricate arrangements and technical tax jargon were illuminated

by [the witness’s] experience . . . and knowledge of industry custom, tax law, and authorities in

the field.” Id at 822.

        Utton’s expert testimony is about water rights industry standards and customs. It is being

offered to benefit the untrained layman or non-water rights lawyer so that he or she may be

qualified to determine intelligently and to the best possible degree the complex water rights

issues involved in this dispute. His testimony does not provide legal conclusions, define the law,

or direct the verdict. Those privileges are reserved for the Court. Thus, as the Utton Declaration

assists the trier of fact but does not supplant its judgment, his declaration satisfies the second

requirement for the admission of expert testimony.

        c. Mr. Utton’s testimony is limited to the matters within his expertise.

        Finally, the Utton Declaration exclusively addresses the field in which Utton has

specialized knowledge and is qualified. Utton’s declaration addresses water rights industry

standards and customs, and that falls within Utton’s expertise in the field of water law.

        Accordingly, as all of the prerequisites for admission of expert testimony are met, John

W. Utton is qualified to testify as an expert and his testimony is properly considered in

connection with the Committee’s Motion for Summary Judgment.

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                                            ANALYSIS

       The analysis provided in the MetLife Response is for the most part a re-hash of the

arguments made in MetLife’s Motion for Summary Judgment. The Committee incorporates here

its Response to MetLife’s Motion for Summary Judgment and will attempt to avoid duplication.

MetLife begins the analysis section discussing the loan by MetLife. As is the case in every §544

avoidance action, the Court is not being asked to determine whether a party was in bad faith or

committed an unfair or wrongful act. The Bankruptcy Code respects a properly perfected

security interest, but an unperfected lien is to be set aside for the benefit of the unsecured

creditors. The issue is not whether MetLife and the Debtor intended to create a lien or whether

they actually created a lien on the subject property. The issue is whether there is a properly

perfected lien. Because the MetLife lien on water rights was not properly perfected, the lien must

be set aside for the benefit of all unsecured creditors.

       a. The Issue Is Not Whether a Lien was Created. It Is Whether the Lien Was
          Perfected.

       MetLife argues in its first point that there was a lien created in its favor on the water

rights. That misses the point. The issue is not whether the lien was created. The issue is whether

the lien was perfected. MteLife argues that § 72-1-2.1 NMSA 1978 and the COO Form “have

nothing to do with the creation of a lien.” MetLife Response, p. 8. That statement demonstrates

the fallacy in MetLife’s entire argument.

       MetLife conflates the “creation of the lien” with the “perfection of the lien.” The issue is

not the “creation of a lien.” The issue is the perfection of that lien. In order to give “Constructive

Notice” (quoting the title of the statute) of “any other type of conveyance, affecting the title to a

water right,” the party must record the COO Form with the county clerk to give “constructive

notice” of that interest. The Legislature would be well aware that the term “conveyance”

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includes the filing of a lien. Under the Fraudulent Conveyance statute that was in effect until

shortly before enactment of § 72-1-2.1, the term “conveyance” was defined as “every payment of

money, . . . mortgage or pledge of tangible or intangible property, and also the creation of any

lien or encumbrance;” § 56-10-1 NMSA 1978 (1986 Repl.).

       Without the filing of the COO Form with the county clerk, a lien created will be binding

on the parties and on those with actual knowledge of the transaction. It will not be binding on a

bona fide purchaser for value without notice or others in the categories set forth in § 544 of the

Bankruptcy Code. That is the whole point of this adversary proceeding.

                   1. The Mortgage created a lien which affected the title to the water rights.

       The MetLife Mortgage created, but did not perfect, the lien on the water rights. As the

Court knows, perfection of a lien requires constructive notice. A bona fide purchaser for value

takes free and clear of liens of which it does not have constructive notice. The trustee in a

bankruptcy—and in this case the unsecured creditors—stands in the shoes of a bona fide

purchaser for value to avoid a lien of which the public does not have constructive notice.

Importantly, the statute’s title specifies that it provides the mechanism for “constructive notice”

and the body of the statute states, “The filing shall be public notice of the existence and contents

of the instruments so recorded from the time of recording with the county clerk.” § 72-1-2.1

NMSA 1978 (emphasis added).

       It bears repeating that, as admitted in the MetLife’s Motion p. 9, Black’s Law Dictionary

defines a lien as “A legal right or interest that a creditor has in another’s property.” The intent of

the statute was to give public notice of that legal right or interest in the water right being

investigated.




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        MetLife relied on a section of the Restatement (Third) of Property (Mortgages) but

neglected to refer to the very first section of that Restatement. In the very first section on

mortgages, the Restatement (Third) of Property (Mortgages) sets out the essential nature of a

mortgage, stating, “A mortgage is a conveyance or retention of an interest in real property as

security . . .” Id at § 1.1. One court explained the nature of a lien by stating:

        A lien has been characterized in this jurisdiction as an obligation, tie, duty, or
        claim annexed to or attaching upon property by the common law, equity, contract,
        or statute. An encumbrance upon property as security for the payment of a debt, a
        lien is perhaps most accurately described as a right afforded by law to have an
        obligation satisfied out of particular property, thereby providing a supplemental
        remedy for the collection of a debt.

Dupuy v. Western State Bank, 375 N.W.2d 909, 912 (Neb. 1985) (citations omitted).                   A

conveyance, retention, obligation, tie, duty, claim, encumbrance, or attachment to real property

plainly affects the title of the property. Indeed, these are the exact things that a “title” insurance

company would look for when determining whether to issue a “title” policy.

        MetLife argues that the nine letters it received from the OSE instructing it to record the

COO Form with the county clerk “don’t affect the liens already obtained by MetLife.” MetLife

Response p. 11. Again, MetLife conflates the creation of the lien with the perfection of the lien.

The failure to record the COO Form means that the lien created in the Mortgage exists and is

binding on those with actual knowledge, but it is unperfected and subject to avoidance.

        The creation of a lien affects title to the property pledged.

                    2. The Mortgage did not adequately describe the water rights.

        MetLife repeats its argument that the Mortgage adequately described the water rights.

However, the Legislature differs with MetLife. It decreed that to give “constructive notice” as

stated in the title or “public notice” as stated in the body of the statute, one must record the COO

Form with the county clerk.

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         A quick review of the Mortgage demonstrates why. First, any water right appurtenant to

the real property described in the Mortgage can be severed and moved to a different location. A

purchaser of the water right from its new location would not know of the Mortgage on the prior

location without a search of the history of the water right and an examination of the title to each

and every prior location. The Legislature decreed the purchaser need not do that. The mere

listing of the permit number in an attachment to the Mortgage is also insufficient. Again, one

only would look at that list if one knew the water right in question had been used on that

property. Otherwise, that list simply does not give notice of the existence of the water right, or at

least so decreed the Legislature. A COO Form is a specific filing that gives far better notice and

has been decreed to be the method of giving “constructive notice” to the “public” of the

existence of the conveyance of an interest affecting the title to the water right.

         It cannot be disputed that the Legislature decreed that if a deed contained the description

in the MetLife Mortgage, that description would not be “constructive notice.” A COO Form with

the details in that document is required for “public notice” of the “conveyance.” The same logic

applies to a mortgage. Komadina v. Edmondson, 468 P.2d 632, 634 81 N.M. 467, 469 (N.M.

1970).

         In this case, there are water rights for which the permit number is not listed in the

MetLife Mortgage. If the Court accepts the argument that the listing of the permit number is

sufficient, partial summary judgment in favor of the Litigation Committee should enter for any

water rights whose permit numbers are not listed in the Mortgage.

         As explained in the Utton Declaration, and listed in Undisputed Material Fact 19 in the

Committee’s Motion, merely listing the permit number is insufficient and fails to disclose many




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facts regarding the water right which are important for purposes of identification. The description

of the water rights fails to qualify as “adequate” for purposes of perfection.

                                           CONCLUSION

       As explained in the Utton Declaration, water rights transactions occur based on the

presence or absence of a COO Form recorded with the county clerk. If that recordation is

unnecessary to perfect a lien, then the COO Form recordation process is nothing more or less

than a trap for the unwary. Reliance on the statutorily mandated procedure may result in the

purchase of a water right whose title is not free and clear. That purchased water right may be

subject, as in this case, to a claim of a multi-million dollar mortgage of which the purchaser had

no notice, constructive or actual. The Legislature adopted the statute, professionals in this field

rely on it, and it should be enforced.

       WHEREFORE, the Court should deny MetLife’s Motion for Summary Judgment, grant

the Litigation Committee’s Motion for Partial Summary Judgment, and set a trial on the value of

the water rights.

                                         Respectfully Submitted,

                                         MODRALL, SPERLING, ROEHL, HARRIS
                                           & SISK, P.A.

                                         By: /s/ Paul M. Fish
                                                 Paul M. Fish
                                                 Spencer L. Edelman
                                                 P.O. Box 2168
                                                 500 Fourth Street NW, Suite 1000
                                                 Albuquerque, New Mexico 87103-2168
                                                 Tel: (505) 848-1800
                                                 Attorneys for Litigation Committee




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In accordance with NM LBR 9036-1 and
Fed. R. Civ. P. 5(b)(2)(D), this certifies that
service of the foregoing document was made
this 10th day of August, 2018, via the
notice transmission facilities of the case
management and electronic filing system
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By:      /s/ Paul M. Fish
         Paul M. Fish

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